             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION
                Civil Action No. 3:22-cv-630-MOC-DSC

SARA BETH WILLIAMS, BRUCE             )
KANE, JASON YEPKO, GUN                )
OWNERS OF AMERICA, INC.,              )
GUN OWNERS FOUNDATION,                )
GRASS ROOTS NORTH                     )
CAROLINA, and RIGHTS WATCH            )
INTERNATIONAL,                        )
                                      )
                  Plaintiffs,         )
                                      )
v.                                    )
                                      )
SHERIFF GARRY MCFADDEN, in            )
his official capacity as Sheriff of   )
Mecklenburg County, and the           )
MECKLENBURG COUNTY                    )
SHERIFF’S OFFICE                      )
                                      )
                  Defendants.         )


EXHIBIT 1A       CHP APPLICATION
       STATE OF NORTH CAROLINA                                                                                         APPLICATION FOR
Name of Applicant (Last, First, Middle, Maiden)       ► Attach listing of all previous addresses and
                                                                                                                  CONCEALED HANDGUN PERMIT
all name changes including location and court file number (IfApplicable)
                                                                                                          □ NEW PERMIT                     □ RENEWAL PERMIT

                                                                                                          □ DUPLICATE                      □ EMERGENCY TEMPORARY PERMIT
                                                                                                                                                                      G. S. 14-415.10 et seq.
Street Address                                                                                         Date of Birth                           Social Security Number
                                                                                                                                               ► See Notification on page 3


City                                           State                         Zip Code                  Driver’s License Number (State ID Number if no driver's license)                State


Mailing Address                                                                                        Military Status            □   Active   □   Reserve
                                                                                                                                                                    Race    Sex        Hair




Telephone Number                                       County of Residence                             Eyes
                                                                                                              □ Discharged □ Retired

                                                                                                                         Height       Weight
                                                                                                                                               □    N/A
                                                                                                                                                   Other Physical Description

                                                                                                                                      T

■          :.. 1
                                                                                    APPLICATION
I, the undersigned applicant, being duly sworn, hereby make application for a North Carolina Concealed Handgun Permit
                                                                                                                                                                                  ______



and state that the following information is correct to the best of my knowledge.
                                                                                                                                                      (Check Appropriate Boxes)

1.     Are you a citizen of the United States?                                                                                                               (1)       □ Yes         □ No

2.     Are you 21 years of age or older?                                                                                                                     (2)       □ Yes         □ No

3.     Have you been a resident of North Carolina for 30 days or longer immediately preceding the date of this application?                                  (3)       □ Yes         □ No

4.     Do you suffer from a physical or mental infirmity that prevents the safe handling of a handgun?                                                       (4)       □ Yes         □ No

5.     Have you successfully completed an approved firearms safety and training course which involved the actual firing
       of handguns and instruction in the laws of North Carolina governing the carrying of a concealed handgun and the
       use of deadly force?            ► If Yes, attach documentation                                                                                         (5)      □ Yes         □ No

       * If No:      Do you meet the retired law enforcement officer exception in N.C.G.S. § 14-415.12(A)?
                                                                                                                                                              *        □ Yes         □ No
           ► If Yes, attach documentation

6.     Are you ineligible to own, possess, or receive a firearm under the provisions of state or federal law?                                                (6)       □ Yes         □ No

7.     Are you under indictment or has a finding of probable cause been entered against you for a pending felony charge?                                     (7)       □ Yes         □ No


8.     Have you been adjudicated guilty in any court of a felony?                                                                                            (8)       □ Yes*        □ No

       *                                                                                                                                                      *        □ Yes         □ No
           If Yes:    Have your firearm rights been restored pursuant to N.C.G.S. § 14-415.4?
           • If Yes, attach documentation

9.     Are you a fugitive from justice?                                                                                                                      (9)       □ Yes         □ No

10. Are you an unlawful user of (or addicted to) marijuana, alcohol, or any depressant, stimulant, or narcotic drug,
    or any other controlled substance as defined in 21 U.S.C. § 802?                                                                                         (10)      □ Yes         □ No

11. Are you currently or have you been previously adjudicated or administratively determined to be lacking
    mental capacity or mentally ill?                                                                                                                         (11)      □ Yes         □ No

12. Have you been discharged from the U.S. Armed Forces under conditions other than honorable?                                                               (12)      □ Yes         □ No

13. Have you been adjudicated guilty of, or received a prayer for judgment continued for, or received a suspended sentence
    for, one or more crimes of violence constituting a misdemeanor, including but not limited to, a violation of the disqualifying
    criminal offenses listed page 3 of this form? • See “List of Disqualifying Criminal Offenses" on page 3                     (13)                                   □ Yes         □ No

14. Have you had an entry of prayer for judgment continued for a criminal offense which would disqualify you
    from obtaining a handgun permit?                                                                                                                         (14)      □ Yes        □ No

15. Are you free on bond or personal recognizance pending trial, appeal, or sentencing for a crime which
    would disqualify you from obtaining a concealed handgun permit?                                                                                          (15)      □ Yes        □ No

16. Have you been convicted of an impaired driving offense under N.C. G.S. §§ 20-138.1,20-138.2, or 20-138.3
     within three years prior to the date of this application?                                                                                               (16)     □ Yes         □ No


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□         I hereby apply for temporary emergency permit for a nonrenewable period of up to 45 days based upon the
          information set forth below. I reasonably believe than an emergency situation exists which may constitute a
          risk of safety to me, my family, or my property.

          State Grounds for Temporary Emergency Permit (Use attachment ifnecessary)




                                                                                                Date
SWORN TO AND SUBSCRIBED TO BEFORE ME

Date                                          Signature of Person Authorized to Administer Oa   Signature of Applicant



Title
                                                                                                                                   CAUTION
                                                                                                       Federal law and State law on the possession of handguns
Date Commission Expires
                                                                                                       and firearms may differ. If you are prohibited by federal
                                                                      SEAL                             law from possessing a handgun or a firearm, you may be
                                                                                                       prosecuted in federal court. A State permit is not a
                                                                                                       defense to a federal prosecution.


                                                                   SHERIFF USE ONLY
 Check List — check applicable boxes

1.      Nonrefundable permit fee paid                                                    □         8.     Date issued Temporary Permit:                      □
2. One full set of fingerprints administered by the Sheriffs Office                      □         9.     Date denied Temporary Permit:                      □
3. Original certificate of completion                                                              10.    Date issued Permit:                                □
   of approved firearms safety & training course                                         □                        Permit Number:                             □
4. Renewal -Waiver of Application Firearm Safety & Training Course                       □         11.    Date denied Permit:                                □
5. Attachment(s) (specify):                                                              □         12.    Date submitted to SBI:                             □
6. Temporary documentation
                                                                                         □         13.    NICS Transaction Number (NTN):

7. Other:                                                                                □                                                                   □



                                        Signature of Sheriff:


                                                          Original - Sheriff /            Copy - SBI          /    Copy - Applicant




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                                          T                                                                                                                           -
                —                        | LIST OF DISQUALIFYING CRIMINAL OFFENSES _____

 1.   Harassment of and communication with jurors                                                                                                  .N.C.G.S. § 14-225.2

 2.   Violation of court orders                                                                                                                    .N.C.G.S. § 14-226.1

 3.   Furnishing poison, controlled substances, deadly weapons, cartridges, ammunition, or alcoholic beverages
      to inmates of charitable, mental or penal institutions, or local confinement facilities..................................... .N.C.G.S. § 14-258.1

 4.   Carrying weapons on campus or other educational property                                                                                     .N.C.G.S. § 14-269.2

 5.   Carrying weapons into assemblies and establishments where alcoholic beverages are sold
      and/or consumed......................................................................................................................        .N.C.G.S. § 14-269.3

 6.   Carry weapons on state property and courthouses                                                                                              .N.C.G.S. § 14-269.4

 7.   Possession and/or sale of spring-loaded projectile knives                                                                                    .N.C.G.S. § 14-269.6

 8.   Impersonation of a fireman or emergency medical services personnel.                                                                          .N.C.G.S. § 14-276.1

 9.   Impersonation of a law enforcement officer or other public officer                                                                             .N.C.G.S. § 14-277

 10. Communicating threats                                                                                                                         .N.C.G.S. § 14-277.1

 11. Carry weapons at parades and other public gatherings                                                                                          .N.C.G.S. § 14-277.2

 12. Stalking                                                                                                                                      .N.C.G.S. § 14-277.3

 13. Stalking                                                                                                                                     N.C.G.S. § 14-277.3A

 14. Throwing or dropping objects at sporting events                                                                                               .N.C.G.S. § 14-281.1

 15. Exploding dynamite cartridges and/or bombs                                                                                                      .N.C.G.S. § 14-283

 16. Rioting and inciting a riot.                                                                                                                  .N.C.G.S. § 14-288.2

 17. Fighting or conduct creating the threat of imminent fighting or other violence                                                           N.C.G.S. § 14-288.4(a)(l)

 18. Making or using any utterance, gesture, display, or abusive language which is intended
     and plainly likely to provoke violent retaliation, and thereby create a breach of peace....                                              .N.C.G.S. § 14-288.4(a)(2)

 19. Looting and trespassing during an emergency                                                                                                   .N.C.G.S. § 14-288.6

 20. Assault on emergency personnel                                                                                                                .N.C.G.S. § 14-288.9

 21. Violations of city state of emergency ordinances                                                                                             .N.C.G.S. § 14-288.12

 22. Violations of county state of emergency ordinances                                                                                           N.C.G.S. § 14-288.13

 23. Violations of state of emergency ordinances.                                                                                                 .N.C.G.S. § 14-288.14

 24. Child abuse                                                                                                                                   .N.C.G.S. § 14-318.2

 25. Violations of the standards for carrying a concealed weapon                                                                               N.C.G.S. § 14-415.21(b)

 26. Misrepresentation on certification of qualified retired law enforcement officers                                                          N.C.G.S. § 14-415.26(d)

 27. Any crime found in Chapter 14, Article 8 of the North Carolina General Statutes.


      SOCIAL SECURITY NUMBER: The disclosure of your social security number as a part of this concealed handgun permit
      application is voluntary. The purpose of requesting the social security number is to assist in your identification and to help distinguish
      you from other persons with similar names. No concealed handgun permit will be denied for failure to disclose a social security number.



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